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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION



  GREG SLOAN,

        Plaintiff,

  v.                                                CASE NO: 8:11-cv-471-T-23MAP


  VALENTINE & KEBARTAS, INC.,

       Defendant.
  __________________________________/


                                          ORDER

        The plaintiff’s notice (Doc. 8) of voluntary dismissal with prejudice is APPROVED,

  and this action is DISMISSED WITH PREJUDICE in accord with Rule 41(a), Federal

  Rules of Civil Procedure.

        ORDERED in Tampa, Florida, on April 13, 2011.
